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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:06-cr-00027-MP-AK

FREDERICK CHARLES HALL,
GIOVANNI G. CONEY,

      Defendants.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 172, Motion to Continue Sentencing, filed by

Defendant Frederick Hall. In his motion, Defendant Hall states that he is currently cooperating

with the Government, and requests a continuance of his sentencing so that his assistance may be

evaluated. The Government does not object to the requested continuance. Therefore, the motion

is granted, and Defendant Hall’s sentencing hearing is continued to Thursday, September 13,

2007, at 2:00 p.m.

       Also, on August 2, 2007, Defendant Giovanni Coney and the Government appeared

before the Court, and requested a continuance of Defendant Coney’s sentencing, scheduled for

August 3, 2007. This request is granted, and Defendant Coney’s sentencing hearing is continued

to Thursday, September 13, 2007, at 10:00 a.m. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.     Defendant Frederick Hall’s Motion to Continue Sentencing, Doc. 172, is granted,
              and Defendant Hall’s sentencing is continued to Thursday, September 13, 2007,
              at 2:00 p.m.

       2.     Defendant Coney’s sentencing is continued to Thursday, September 13, 2007, at
              10:00 a.m.

       DONE AND ORDERED this            2nd day of August, 2007
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                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




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